           Case 1:18-cr-00319-LTS Document 435 Filed 11/15/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 18-CR-319-LTS

JUAN CALDERON,                                                               ORDER

                 Defendant.

-------------------------------------------------------x

                 The sentencing hearing in this case is scheduled to proceed on February 15,

2022, at 2:15 p.m., in Courtroom 17C. The parties’ attention is directed to the Court’s policies

regarding courthouse entry and COVID-19 test reporting protocols, which are available on the

Court’s website, at https://www.nysd.uscourts.gov/covid-19-coronavirus.

                 The parties are directed to email Chambers at

SwainNYSDCorresp@nysd.uscourts.gov any documents they would like the Court to consider

during or in connection with the proceeding at least 24 hours in advance of the proceeding.



         SO ORDERED.

 Dated: New York, New York                                   /s/ Laura Taylor Swain
        November 15, 2021                                   LAURA TAYLOR SWAIN
                                                            Chief United States District Judge




CALDERON - ORD SCHD SENTC HRG                              VERSION NOVEMBER 15, 2021               1
